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OAO 154 (10/03) Substitution of Attorney


                                           UNITED STATES DISTRICT COURT
                          Northern                               District of                                        California


           People of the State of California                                  CONSENT ORDER GRANTING
                                               Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                             V.
              Meta Platforms, Inc., et al.                                    CASE NUMBER: 4:23-cv-05448
                                             Defendant (s),

           Notice is hereby given that, subject to approval by the court, State of Arizona, ex rel Kris Mayes                               substitutes
                                                                                                           (Party (s) Name)

Laura Dilweg                                                                  , State Bar No. 036066                             as counsel of record in
                            (Name of New Attorney)

place of      Vince Rabago, AZ Bar No. 015522, CA Bar No. 167033                                                                                          .
                                                           (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:                 Laura Dilweg

           Address:                   Arizona Attorney General's Office, 2005 N. Central Ave., Phoenix, AZ 85004

           Telephone:                 (602) 542-5487                                  Facsimile (602) 542-4377
           E-Mail (Optional):         laura.dilweg@azag.gov


I consent to the above substitution.                                                       State of Arizona

Date:                             2/5/2024
                                                                                                                (Signature of Party (s))
                                                                                           Vince Rabago
I consent to being substituted.
Date:                           2/5/2024
                                                                                                       (Signature of Former Attorney (s))

I consent to the above substitution.
Date:                           2/5/2024
                                                                                                             (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                        Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
